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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION



 CRIMINAL NO. 12-50008-004                USA v. OMAR FRIAS

 COURT PERSONNEL:                         APPEARANCES:

 Judge: JIMM LARRY HENDREN                Govt. CLAY FOWLKES

 Clerk: GAIL GARNER                       Deft. MARK FORD

 Reporter: THERESA SAWYER



                          SENTENCING MINUTE SHEET

      On this date the above-named defendant appeared in person and
 with counsel for sentencing and is sworn.

       (X)   Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
       (X)    Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
       (X)   Inquiry made that defendant is satisfied with counsel.
       (X)   Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
       (X)   Presentence investigation report reviewed in open court.
       (X)   Court expresses final approval of plea agreement.
       (X)   Government moves to amend motion for downward departure
             in open court - granted. Government to file written
             version of same of record. Court grants amended motion -
             5-level departure awarded.
       (X)   Attorney for government afforded opportunity to make
             statement to court.
       (X)   Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
       (X)   Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
       (X)   Court proceeded to impose sentence as follows:

             42 months imprisonment; 3 years supervised release;
             $10,000.00 fine - interest waived.
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 Criminal No. 12-50008-004


       (X)   Defendant ordered to comply with standard conditions
             of supervised release.
       (X)   Defendant ordered to comply with the following special
             conditions of supervised release:

             Submit person, residence, place of employment, and
             vehicle to search upon request by USPO.

             Submit to inpatient/outpatient substance abuse
             testing/treatment as directed by USPO.

       (X)   Defendant ordered to pay total special assessment of
             $100.00 for Count 9, which shall be due immediately.
       (X)   Defendant advised of right to appeal sentence imposed.
       (X)   Defendant advised of right to apply for leave to appeal
             in forma pauperis.
       (X)   Counts 1, 8 and forfeiture allegation dismissed on motion
             by the government.
       (X)   Defendant remanded to custody of USMS.



 DATE: November 26, 2012                  Proceeding began: 2:54 pm

                                                         ended: 3:33 pm
